Case 2:25-cv-01963-MEF-MAH           Document 207-1        Filed 04/21/25      Page 1 of 4 PageID:
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 April 20, 2025


 VIA ECF – FILED UNDER SEAL

 Honorable Michael E. Farbiarz
 United States District Judge
 District of New Jersey
 U.S. Post Office & Courthouse
 Newark, New Jersey 07101

        Re: Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)

 Dear Judge Farbiarz:

         Petitioner respectfully writes to follow up on his letter, ECF 203, requesting urgent
 consideration of Petitioner’s Bail Motion, to inform the Court that ICE denied Petitioner’s request
 for a two-week Furlough. A copy of the relevant correspondence is attached. Thank you again for
 your consideration of this request.

                                                   Respectfully submitted.

                                                   /s/ Baher Azmy

 AMERICAN CIVIL LIBERTIES UNION OF NEW             CENTER FOR CONSTITUTIONAL RIGHTS
 JERSEY FOUNDATION                                 Baher Azmy
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                                          Counsel for Petitioner
          Case 2:25-cv-01963-MEF-MAH
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       Re: Mahmoud KHALIL Furlough Request


       From Harper, Mellissa 8 <                                   >
       Date Sun 4/20/2025       11 :08 AM
       To      Ramzi Kassem <
       Cc                                                                                                >; Johnny Sinodis
                                                                                                                    >; Cheramie,




       Mr. Kassem,


       Thank you for your email. After consideration of the submitted information and a review of your
       client's case, your request for furlough is denied.

       Mellissa B. Harper
       Field Office Director
       New Orleans Field Office
       Enforcement and Removal Operations
       Immigration and Customs Enforcement

       From: Ramzi Kassem                                      >
       Sent: Sunday, April 20, 2025 10:35:19 AM
       To: Harper, Mellissa B                                      >
       Cc:Metoyer, Numa                                        ; Marc Van Der Hout                      >; Johnny Sinodis
                           >; Oona Cahill~>
       Subject: Mahmoud KHALILFurlough Request


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                   and follow instructions.



       Dear Ms. Harper,

       We write as counsel for Mahmoud Khalil (A-number: -                 I Facility: Jena} to request that Mr. Khalil be
       released on furlough immediately for a period of two weeks. Mr. Khalil's wife has just gone into labor this morning
       in New York City, eight days earlier than expected. A two week furlough in this civil detention matter would be
       both reasonable and humane so that both parents can be present for the birth of their first child. Undersigned
       counsel and Mr. Khalil would be open to any combination of conditions that would allow furlough from ICE's
       perspective, including a GPSankle monitor and/or scheduled check-ins.

       We would be grateful for a prompt reply in light of this urgent development.

       Thank you in advance,
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       Ramzi Kassem
       Marc Van Der Hout
       Johnny Sinodis
       Oona Cahill




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